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UNITED STATES DISTRICT COURT DATE FILED: /O-21/-20 _
SOUTHERN DISTRICT OF NEW YORK
x
United States of America,
ORDER
18-CR-420 (ALC)
-against-
Rocky Sanchez,
xX

 

ANDREW L. CARTER, JR., United States District Judge:

The Sentencing scheduled for October 23, 2020 is adjourned to February 25, 2021 at
11:30 a.m.

SO ORDERED.

Dated: New York, New York

October 21, 2020 7 (La

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 

 
